Case 8:10-cv-02279-AW Document 6-8 Filed 08/19/10 Page 1 of 2

U MIN N ESGTA LAWYERS MUTUAL

lNSURANCE COM|’ANY

October l3, 2009
Sent Via Registered E-l\/Iail Only

PERSONAL & CONFIDENTIAL

Mr. Jonathan Shurberg
Jonathan S. Shurberg, P.C.
1317 Apple Avenue
Silver Spring, MD 20910

Re: MLM File Number: 09-469
Policy Number: 18908-5
Insured: Jonathan Shurberg
Jonathan S. Shurberg, P.C.
Claimant: Rosa Peralta

Dear Mr. Shurberg:

We acknowledge receipt of your email dated October 8, 2009 in which you attached a
summons and complaint filed against you and arising out of the above-referenced matter
and in which you demanded that MLM provide you with a defense

Please be advised that we stand by our prior determination that your MLM policy
provides no coverage for this claim. In that regard, this letter is a supplement to and
incorporates our letter to you dated June 9, 2009 in which we initially informed you that
there is no coverage for this claim. Thus, MLM respectfully declines to defend or
indemnify you in regard to this lawsuit and we suggest you promptly retain counsel to
defend your interests in this regard

 

phone 800.422,1370 333 South Seventh Street
Regional Off`ices fax 800.305.1510 Suite2200
Philadelphia, PA / Richmond, VA / Ailama, GA / Towson, MD www.mlmins.com / info@mlmins.com Minneapolis, MN 55402

Case 8:10-cv-O2279-AW Document 6-8 Filed 08/19/10 Page 2 of 2

Mr. Shurberg
October 13, 2009
Page 2

Sincerely,

AM€W

Anne S. Johnson

Claim Attorney

Minnesota Lawyers Mutual
333 South Seventh Street
Suite 2200

Minneapolis, MN 55402
612.373.9670

ajohnson@mlrnins.com

cc; Jon Schraub

